
PER CURIAM.
The order of the trial judge, denying the motion to dismiss on the grounds that Section 812.014 is unconstitutional, is affirmed. See State v. Allen, 362 So.2d 10 (Fla.1978); State v. Lewis, 364 So.2d 1223, (Fla. 1978); State v. Belgrave, 364 So.2d 1225, No. (Fla. 1978); Dunnigan v. State, 364 So.2d 1217, (Fla. 1978). This case is transferred to the District Court of Appeal, Fourth District, for consideration of the remaining issues raised by appellant.
ENGLAND, C. J., and ADKINS, BOYD, OVERTON, SUNDBERG, HATCHETT and ALDERMAN, JJ., concur.
